     Case 2:10-cv-03907-JCJ Document 7-9 Filed 09/28/10 Page 1 of 1




                            CERTIFICATE OF SERVICE


           I hereby certify that a true and correct copy of the foregoing Motion for an
Award of Attorney’s Fees and Costs was served via the electronic filing system and
regular mail, postage-prepaid, addressed to the following:


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